       Case 1:17-cv-01953-RDM Document 57-8 Filed 11/27/17 Page 1 of 5




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


                                   )
ATLAS, INC., et al.,               )     Case No.: 1:17-cv-01953-RDM
                                   )
             Plaintiffs,           )     Hon. Randolph D. Moss
                           v.      )
                                   )
INTERNATIONAL BROTHERHOOD)
OF TEAMSTERS, AIRLINE    )
DIVISION, et al.,        )
                                   )
             Defendants.           )
~~~~~~~~~~)

    DEFENDANTS' MEMORANDUM IN OPPOSITION TO PLAINTIFFS'
         MOTION FOR PRELIMINARY INJUNCTIVE RELIEF




                       Union Exhibit 45:
                 Screenshots August 26
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45.1
                                                                                                                                                            Page: 1
       ATLAS AIR                                     Crew Name changes on each flight leg Report
       Fri ,27 Oct 2017                                                       From 08/27/2017 To 08/27/2017                                                Time: 15:21


       "On" Date "On" Time "For" Date Flight Leg Data                         Action        Crew Name                                     User who made the change
       07/25/2017    17:36   08/27/2017   7167 ANC   NRT   16:55   1:04 744   Assigned      Lacroix, Kevin ( HSV - 744 - CA ) 449742      MARIDALIA SANGIOVANNY
                     18:31                7167 ANC   NRT   16:55   1:04 744   Assiqned      Anderson. Greqorv ( ANC - 744 - FO ) 2539     BOB MURPHY
       08/12/2017    9:23                 7167 ANC   NRT   16:55   1:04 744   De-Assigned   Anderson, Gregory ( ANC - 744 - FO ) 2539     MARIDALIA SANGIOVANNY
                                          7167 ANC   NRT   16:55   1:04 744   Assigned      Anderson, Gregory ( ANC - 744 - FO ) 2539     MARIDALIA SANGIOVANNY
       08/14/2017    20:19                7167 ANC   NRT   16:55   1:04 744   De-Assigned   Anderson, Gregory ( ANC - 744 - FO ) 2539     LORRIS LINTON
       08/16/2017    7:52                 7167 ANC   NRT   16:55   1:04 744   De-Assigned   Lacroix, Kevin ( HSV - 744 - CA ) 449742      WILSON PROANO
       08/19/2017    9:47                 7167 ANC   NRT   16:55   1:04 744   Assigned      Brayton, Scott (JFK - 744 - CA ) 1251         LEVON MELIKYAN
                     13:18                7167 ANC   NRT   16:55   1:04 744   Assigned      Ojeda, Edward ( LAX - 744 - FO ) 451616       MARIDALIA SANGIOVANNY
                     13:19                7167 ANC   NRT   16:55   1:04 744   Assiqned      Erickson. John ( PAE - 744 - FO ) 451610      MARIDALIA SANGIOVANNY
       08/20/2017    9:18                 7167 ANC   NRT   16:55   1:04 744   De-Assigned   Erickson, John ( PAE - 744 - FO ) 451610      MARIDALlA SANGIOVANNY
                     22:42                7167 ANC   NRT   16:55   1:04 744   Assigned      White, Michael H. ( ORD - 744 - FO ) 451850   LEVON MELIKYAN
       08/24/2017    18:50                7167 ANC   NRT   16:55   1:04 744   De-Assigned   Ojeda, Edward ( LAX - 744 - FO ) 451616       TOMMY SANTIAGO
                     18:54                7167 ANC   NRT   16:55   1:04 744   Assigned      Carrpbell, Jeffrey L. (LAX - 744 - CA ) 451   TOMMY SANTIAGO
       08/25/2017    5:18                 7167 ANC   NRT   16:55   1:04 744   Assigned      Glover, Terry ( ANC - 744 - FO ) 451987       JEREMIAH HARRINGTON
                     5:19                 7167 ANC   NRT   16:55   1:04 744   De-Assiqned   White. Michael H. ( ORD - 744 - FO ) 451850   JEREMIAH HARRINGTON
       08/26/2017    23:38                7167 ANC   NRT   16:55   1:04 744   De-Assigned   Glover, Terry ( ANC - 744 - FO ) 451987       LORRIS LINTON
       08/27/2017    10:57                7167 ANC   NRT   16:55   1:04 744   Assigned      Webster, Eric ( ANC - 744 - FO ) 452019       LEVON MELIKYAN
                                          7167 ANC   NRT   16:55   1:04 744   De-Assigned   Brayton, Scott (JFK - 744 - CA ) 1251         LEVON MELIKYAN
                     11:01                7167 ANC   NRT   16:55   1:04 744   Assigned      Brayton, Scott (JFK - 744 - CA ) 1251         LEVON MELIKYAN
         Selected Criteria
         "For" Date Selected               From 08 /27/20 17 To 08/27/2017
         "On" Date Selected                Any Dates
         "On" Time Selected                From 0:00 To 23:59
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         ~umber Of changes Made             19
         Type Of Changes Made               Both
         Type Of Flights Reported           Both
                                                                                                                                                                         Case 1:17-cv-01953-RDM Document 57-8 Filed 11/27/17 Page 3 of 5




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                                  OB . 26   Route 07571 changed                                                    750      JEREMIAH    H
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                                  08 . 26   Fli g ht D757 1 cancelled                                              750      JEREMIAH    H
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                                  OB 26     Assigned To 328 1 / 20 : 45                                            750      JEREMIAH    H
                                                                                                                                      B: 57 08 25 . 2017        3               Yes  900  •Ail!S_llSG    21 : 28    OB     25 . 20 17
                                ' OB . 26   Route 3 28 1     changed                                              1184    LORRIS Liil 3 : 38 08 . 27 2017    4 .5               Yes 1184   LORRIS Liii     3 : 38   OB     27 20 17
                                loe. 26     Flig ht 328 1     cancelled                                                42 GARY HAAS 11 . 34 08 . 27 2017        5               Yes    42 GARY HAAS      11 . 34    OB     27 20 17
                                '06 26      Assigned To       MED                                                      42 GARY HAAS 11 · 3 4 08 27 20 17        3               Yes    42 GARY HAAS      11 : 3 4   OB     27 . 2 017




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45.3
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        Type of rules usecl           Type offormat              I Output in Black and White                  I Output will include crew on route
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             23 : H Res t SHERATON GRAND SHANGAI PUD0/ 011 - 8621 - 5089 - 9999                                                                         3:29                 6:36                                       :06
                    REF: 9'8590,05 (08/25/17 0' :51)
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                    REF:                                      18 : 00)

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             29 :11 Rest B- CORDIS HONG KONG/ 011 - 852 - 3552 - 3388                                                                                   3:28                 5:39                                     6: 09
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